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  9
 10                              UNITED STATES BANKRUPTCY COURT
 11                     NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
 12 In re                                            Case No. 20-30748

 13 ☐ SIZZLER USA ACQUISITION, INC., a               Joint Administration Requested with
      Delaware corporation                           Case Nos. 20-30746, 20-51400, 20-51401,
 14 ☐ SIZZLER USA HOLDINGS, INC., a                  20-51402, 20-51403, 20-51404, and 20-51405
      Delaware corporation
 15 ☐ SIZZLER USA FINANCE, INC., a                   Chapter 11 Proceeding
      Delaware corporation.
 16 ☐ WORLDWIDE RESTAURANT                           SUPPLEMENTAL DECLARATION OF
      CONCEPTS, INC., a Delaware                     CHRISTOPHER PERKINS IN SUPPORT
 17   corporation                                    OF DEBTORS’ FIRST DAY MOTION
    ☐ SIZZLER USA, INC., a Delaware                  FOR ORDER AUTHORIZING DEBTORS
 18   corporation                                    TO HONOR PREPETITION
    ☐ SIZZLER USA FRANCHISE, INC., a                 OBLIGATIONS TO EMPLOYEES
 19   Delaware corporation
    ☐ SIZZLER USA REAL PROPERTY, INC.,
 20   a Delaware corporation
    ☐ SIZZLER USA RESTAURANTS, INC., a               Judge:   Hon. M. Elaine Hammond
 21   Delaware corporation                           Date:    September 22, 2020
    ☒ ALL DEBTORS,                                   Time:    9:30 a.m.
 22                                                  Place:   Tele/Videoconference Only
                 Debtors and
 23              Debtors in Possession.

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      SMRH:4819-4193-8124.2          SUPPLEMENTAL PERKINS DECLARATION IN SUPPORT OF EMPLOYEE
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                                                                           OBLIGATIONS MOTION
  1 I, Christopher Perkins, declare as follows:

  2          1.     I am the President and Chief Services Officer of Sizzler USA Acquisition, Inc.

  3 (“SUSAA”), Sizzler USA Holdings, Inc. (“SUSAH”), Sizzler USA Finance, Inc. (“SUSAFI”),

  4 Worldwide Restaurant Concepts (“WRC”), Sizzler USA Inc. (“SUSA”), Sizzler USA Franchise,

  5 Inc. (“SUSAFR”), Sizzler USA Real Property, Inc. (“SUSARP”), and Sizzler USA Restaurants,

  6 Inc. (“SUSAR,” collectively, the “Debtors”), debtors and debtors in possession in the above-

  7 captioned chapter 11 proceeding. I became President of the Debtors in January 2020 and have

  8 been serving as Chief Services Officer since May 2019. Previously, I served as Director and

  9 General Counsel of the Debtors from February to May 2019.
 10          2.     I am the officer with primary responsibility for the business and financial affairs of

 11 the Debtors. I am familiar with the Debtors’ operations and books and records, which I personally

 12 know are made and maintained in the ordinary course of business. On this basis, I have personal

 13 knowledge of the facts stated herein or knowledge based on the business records that are made and

 14 maintained in the Debtors’ ordinary course of business, the information supplied to me by (a) my

 15 colleagues who report directly to me or (b) the Debtors’ general bankruptcy counsel and other

 16 legal and professional advisors.

 17          3.     I submit this Declaration in further support of the Debtors’ Emergency Motion for

 18 Order Authorizing Debtors to Honor Prepetition Obligations to Employees (the “Employee

 19 Obligations Motion”), filed on September 21, 2020, as Docket No. 8 in Case No. 20-30748 and

 20 also as a supplement to the Declaration of Christopher Perkins in Support of First Day Motions

 21 (the “First Day Declaration”), also filed on September 21, 2020, as Docket No. 13 in the same

 22 case. If asked to do so, I could and would testify competently under oath to the following matters.

 23          4.     As noted in the Employee Obligations Motion and in the First Day Declaration,

 24 SUSAR has over 200 active employees. Most of these employees are hourly restaurant workers,

 25 many of whom live paycheck-to-paycheck, and can ill-afford any interruption in payment,

 26 especially during the ongoing pandemic emergency and economic turmoil.

 27          5.     Also as noted in the Employee Obligations Motion and in the First Day

 28 Declaration, the next scheduled payroll is due to be paid out on Friday, September 25, 2020.
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                                                                                   OBLIGATIONS MOTION
  1 However, to make timely payment on payroll, SUSAR must fund the payroll by Wednesday,

  2 September 23, 2020.

  3            6.       The outstanding payroll due to be paid on Friday, September 25, 2020, totals

  4 $179,062. The following chart provide a breakdown of the payroll amounts due to different

  5 groups of workers:

  6    Group                                 Amount                 % of Payout       No. of People
       Chris & Tim Perkins                     $0                       0%                  2
  7    Senior Leadership
       Team                                   $27,296                    15%                 6
  8    Home Office
       Employees                              $21,422                    12%                 8
  9
       Store Level Staff                     $130,343                    73%                218
 10    Grand Total                           $179,062                   100%                232

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 12            7.       As shown in the above chart, 73% of the payroll due to be paid on Friday,

 13 September 25, 2020, is owed to store-level restaurant staff, most, if not all, of whom are hourly

 14 employees who will suffer immensely if they do not receive prompt payment of payroll on Friday.

 15 The Debtors, therefore, have sought emergency interim relief to ensure that SUSAR’s hourly

 16 employees do not suffer any interruption in payment.

 17            8.       Also as shown in the above chart, the most senior level members of the leadership

 18 team, that is, the Debtor’s Chief Strategy Officer Timothy Perkins and I, are not presently taking

 19 any salary draw or receiving any payroll payments. Indeed, Timothy Perkins and I have foregone

 20 receiving nearly any salary payments for the past six months and continue to defer our salaries

 21 over an extended period of time.

 22            9.       Beyond this, only six members of the Senior Leadership Team are proposed to

 23 receive a payroll payment on Friday, September 25, 2020. Prior to the Petition Date, these

 24 members of the Senior Leadership Team had already received a 25% pay cut, which, assuming the

 25 Court grants the relief requested in the Employee Obligations Motion, will continue indefinitely.

 26 Of these six members of the Senior Leadership Team, Forbes Collins is an officer, while the other

 27 five members of the Senior Leadership Team are non-insiders.

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                                                                             OBLIGATIONS MOTION
  1            10.      The remaining employees are all non-executive, and as previously discussed, likely

  2 would suffer greatly should their paychecks be delayed even for a few days.

  3            I declare under penalty of perjury under the laws of the United States of America that the

  4 foregoing is true and correct.

  5            Executed on this 21st day of September, 2020, at Mission Viejo, California.

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                                                         Christopher Perkins
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      SMRH:4819-4193-8124.2            SUPPLEMENTAL PERKINS DECLARATION IN SUPPORT OF EMPLOYEE
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                                                                             OBLIGATIONS MOTION
